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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

                                                         MDL No. 1456
IN RE PHARMACEUTICAL INDUSTRY
AVERAGE WHOLESALE PRICE LITIGATION                       Master File No. 01-12257-PBS

                                                         Subcategory No. 06-11337-PBS
                                                         Civil Action No. 08-cv-10852


THIS DOCUMENT RELATES TO:                                Judge Patti B. Saris
United States of America ex rel. Ven-A-Care of
the Florida Keys, Inc., by and through its principal     Magistrate Judge Marianne B. Bowler
officers and directors, Zachary T. Bentley and
T. Mark Jones v. Actavis Mid Atlantic LLC, et al.



               [PROPOSED] ORDER GRANTING DEFENDANTS’
    MOTION TO COMPEL THE STATE OF NEW JERSEY DIVISION OF MEDICAL
       ASSISTANCE AND HEALTH SERVICES TO PRODUCE DOCUMENTS

          Upon consideration Defendants’ Motion to Compel the State of New Jersey Division of

Medical Assistance and Health Services to Produce Documents (the “Motion”), Defendants’

Memorandum and exhibits in support thereof, the applicable rules and law, and the entire record

herein, it is hereby:

          ORDERED that Defendants’ Motion [Docket No.       ] is GRANTED.

          SO ORDERED.



______________                               _____________________________________
Date                                         The Honorable Marianne B. Bowler
                                             UNITED STATES MAGISTRATE JUDGE




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